                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        :
                                                        :   Chapter 11
    In re                                               :
                                                        :   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1                         :   (Jointly Administered)
                                                        :
                                    Debtors.            :   Hearing Date: September 13, 2023, at 1:00 p.m.
                                                        :
                                                            Objection Deadline: September 6, 2023, at 4:00
                                                        :   p.m., extended to September 7, 2023 at 4:00 p.m.
                                                            for the U.S. Trustee

                                                            Re: D.I. 2239


 UNITED STATES TRUSTEE’S OBJECTION TO DEBTORS’ MOTION FOR ENTRY
OF AN ORDER AUTHORIZING AND APPROVING (I) GUIDELINES FOR THE SALE
OR TRANSFER OF CERTAIN DIGITAL ASSETS, (II) THE SALE OR TRANSFER OF
SUCH DIGITAL ASSETS IN ACCORDANCE WITH SUCH GUIDELINES FREE AND
 CLEAR OF ANY LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES, (III) THE
    DEBTORS’ ENTRY INTO, AND PERFORMANCE UNDER, POSTPETITION
      HEDGING ARRANGEMENTS, INCLUDING GRANTING LIENS AND
   SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS IN CONNECTION
 THEREWITH AND (IV) THE DEBTORS TO STAKE CERTAIN DIGITAL ASSETS

            Andrew R. Vara, the United States Trustee for Regions Three and Nine (the “U.S.

Trustee”), through his undersigned counsel, files this objection (the “Objection”) to the Debtors’

Motion for Entry of an Order Authorizing and Approving (I) Guidelines for the Sale or Transfer

of Certain Digital Assets, (II) the Sale or Transfer of Such Digital Assets in Accordance with

Such Guidelines Free and Clear of any Liens, Claims, Interests and Encumbrances, (III) the

Debtors’ Entry into, and Performance Under, Postpetition Hedging Arrangements, Including



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      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
      are 3288 and 4063, respectively. Due to the large number of debtor entities in these chapter 11 cases,
      a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.ra.kroll.com/FTX.
Granting Liens and Superpriority Administrative Expense Claims in Connection Therewith and

(IV) the Debtors to Stake Certain Digital Assets [D.I. 2239] (the “Motion”), and respectfully

states:

                              I.      PRELIMINARY STATEMENT

          1.    The U.S. Trustee objects to the Motion to the extent it seeks authority, under

sections 363 and 364 (c)(1) and (2) of the Bankruptcy Code, to grant post-petition liens on

unidentified property, including unencumbered property, and superpriority administrative

expense claims in unspecified amounts in connection with financing to be provided by unnamed

counterparties in hedging transactions relating to cryptocurrency. The Motion fails to disclose

any of the information required by Local Rule 4001-2, which rule applies to all “financing

requests under sections 363 and 364 of the Bankruptcy Code.”

          2.    The U.S. Trustee also objects to certain aspects of the Management and

Monetization Guidelines 2 relating to the Debtors’ sale of cryptocurrency, which procedures fail

to provide notice of, or an opportunity to object to, potential changes to the amount and type of

cryptocurrency that may be sold, to any party in interest other than the Committee or the Ad Hoc

Committee. 3

          3.    For the reasons set forth in this Objection, the Motion should be denied.




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    Any capitalized terms not defined herein shall have the definition set forth in the Motion.
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    The U.S. Trustee’s counsel believes she has reached an agreement with the Debtors’ counsel as to
    certain modifications to be made to the Management and Monetization Guidelines other than those
    addressed in this Objection. The U.S. Trustee reserves the right to supplement this Objection, or to
    assert additional objections at the hearing on the Motion, if such modifications are not made.

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                            II.     JURISDICTION AND STANDING

         4.      Pursuant to (i) 28 U.S.C. § 1334, (ii) applicable order(s) of the United States

District Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a), and (iii) 28

U.S.C. § 157(b)(2)(A), this Court has jurisdiction to hear and determine this Objection.

         5.      Under 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

administration of Chapter 11 cases filed in this judicial district. This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

interpreted by the courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).

         6.      Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on this

Objection. See United States Trustee v. Columbia Gas Sys., Inc. (In re Columbia Gas Sys., Inc.),

33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has “public interest standing” under

11 U.S.C. § 307, which goes beyond mere pecuniary interest).

                                  III.   FACTUAL BACKGROUND

         7.      On or after November 11, 2022, the Debtors filed voluntary chapter 11 petitions

in this Court.

         8.      The Debtors continue to operate their business(es) as debtors in possession

pursuant to 11 U.S.C. §§ 1107 and 1108.

         9.      The U.S. Trustee appointed an official committee of unsecured creditors (the

“Committee”) on December 15, 2022.




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         10.    On August 23, 2023, the Debtors filed the Motion, pursuant to sections 363 and

364 of the Bankruptcy Code. [D.I. 2239] By the Motion, the Debtors seek Court authorization

and approval of:

                (a) Management and Monetization Guidelines relating to the sale or transfer of
                     certain Digital Assets; 4

                (b) the sale or transfer of Digital Assets in accordance with those Management
                     and Monetization Guidelines free and clear of any liens, claims, interest or
                     encumbrances;

                (c) the Debtors’ “entry into, and performance under, post-petition hedging
                     arrangements, including granting liens and superiority administrative expense
                     claims in connection therewith;” and

                (d) the staking of certain Digital Assets by the Debtors.

See Mot., pp. 1-2.

         11.    In the Motion, the Debtors state, “[b]ecause transactions under Hedging

Arrangements are subject to value fluctuations in the ordinary course of business, counterparties

to such contracts may, in certain circumstances, require that a debtor’s obligation under such

contract be secured by various forms of collateral, including the granting of superpriority

administrative expense claims and/or the granting of liens on certain unencumbered collateral

pursuant to section 364(c)(1) and (2) of the Bankruptcy Code. See Mot. ¶42 (emphasis added).




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    Although the Motion is not completely clear on this point, Debtors’ counsel has confirmed that the
    digital assets that may be sold pursuant to the Management and Monetization Guidelines include
    those “associated with customer-facing exchanges.” The U.S. Trustee interprets this to mean digital
    assets that are in or attributed to customer accounts may be sold through the proposed procedures.

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                                       IV.    ARGUMENT

   A. That Portion of the Motion that Seeks Authority for the Debtors to Enter into
      Debtor-in-Possession Financing Must be Denied Due to Failure of the Debtors to
      Make the Disclosures Required by Local Rule 4001-2.

        12.    Through the Motion, the Debtors seek authority, pursuant to sections 363 and

364(c)(1) and (2) of the Bankruptcy Code, to enter into and perform under “post-petition hedging

arrangements, including granting liens and superiority administrative expense claims in

connection therewith.” Mot., pp. 1-2, and ¶¶ 42-44. Local Rule 4001-2, which states that it

applies to “all cash collateral and financing requests under sections 363 and 364 of the

Bankruptcy Code,” requires certain disclosures to be made in any motion seeking debtors-in-

possession (“DIP”) financing. See LR 4001-2 (a) & (a)(i).

        13.    The Local Rule indicates that, “[a]ll Financing Motions shall (A) provide a

summary of the essential terms of the proposed use of cash collateral and/or financing, and

identify the location of the same in the proposed form of order, cash collateral stipulation and/or

loan agreement; . . . “ LR 4001-2 (a)(i). The rule then lists certain specific provisions, as to

which the proponent of the financing motion must indicate, in the motion, the location of the

same in the proposed form of order, cash collateral stipulation and/or loan agreement. Id. Those

provisions include, but are not limited to the following:

               A. The amount of cash collateral the debtor seeks permission to use or the
                  amount of credit the debtor seeks to obtain under the proposed loan
                  agreement, including the committed amount of the proposed loan agreement
                  and the amount of new funding that will actually be available for borrowing
                  by the debtor;

               B. Pricing and economic terms, including letter of credit fees, commitment fees,
                   and any other fees, . . .”
                   ....
               E. Material conditions to closing and borrowing, including budget provisions;
                   ...
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                G. Any provision that provides for postpetition liens on unencumbered assets,
                   including the identification of such assets;

L.R. 4001-2(a)(i)(A), (B), (E) & (G) (emphasis added). 5

         14.    The Debtors have not provided any of the disclosures specified above, or any of

the other disclosures required by Local Rule 4001-2. Among other things, the Motion fails to

disclose the following:

                (a) the identity of the parties who will provide the DIP financing and receive the
                    liens and superpriority claims, other than that they will be counterparties to
                    hedging agreements;

                (b) the amount of credit the Debtors seek to obtain;

                (c) the pricing or other economic terms of such credit;

                (d) the maximum amount of post-petition liens and superpriority claims that will
                    be permitted;

                (e) the identity of the unencumbered assets, or any other assets, that will be
                    subject to the proposed liens; or

                (f) material conditions to closing and borrowing.

         15.    The Motion also does not attach any of the hedging agreements which would set

forth the terms of the DIP financing, as required by Local Rule 4001-2 (a)(ii) (“The Financing

Motion shall attach the post-petition loan agreement or other documents that set forth the terms

of the financing.”).

         16.    In addition to not complying with Local Rule 4001-2, that portion of the Motion

that seeks approval of superpriority expense administrative claims must also be denied because


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    Local Rule 4001-2 also provides that, with respect to a subset of the provisions set forth in subsection
    (i), namely subsections N through X, the proponent of the financing motion also must set forth the
    justification for the inclusion of any such provision. See LR 4001-2 (a)(i).

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the Debtors have not met their burden to demonstrate that such superpriority administrative

expenses were actually necessary to preserve the value of the estate. See Calpine Corp. v.

O’Brien Env’t Energy, Inc. (In re O’Brien Env’t Energy, Inc.), 181 F.3d 527, 535 (3d Cir. 1999)

(“the allowability of break-up fees, like that of other administrative expenses, depends upon the

requesting party’s ability to show that the fees were actually necessary to preserve the value of

the estate”) (emphasis added). Nor can the Debtors make such a showing without identifying the

recipients(s) of such superpriority administrative expense claims, and establishing that such party

or parties would not have provided financing in connection with the hedging arrangements

without receiving such a superpriority claim.

        17.    The portion of the Motion that seeks approval of DIP financing also should be

denied because the absence of any information regarding the terms of such financing failed to

provide parties in interest with “notice reasonably calculated, under all the circumstances, to

apprise interested parties of the pendency of the action and afford them an opportunity to present

their objections.” Folger Adam Security, Inc. v. DeMatteis/MacGregor, 209 F.3d 252, 265 (3d

Cir. 2000) (citations and internal quotations omitted).

        18.    The Debtors’ Motion should be denied unless and until it makes all the

disclosures required by Local Rule 4001-2, serves the same on parties in interest in these cases,

and provides them an opportunity to object. If the Debtors are not currently in a position to make

such disclosures because the hedging arrangements have not yet been made, or financing terms

have yet to be finalized, the Motion should be denied absent reasonable procedures requiring the

Debtors to file and serve the disclosures required by Local Rule 4001-2 in the future and giving

parties in interest an opportunity to object to same.




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   B. The Management and Monetization Guidelines Do Not Provide Sufficient Notice to
      Parties in Interest of Potential Changes to the Amount and Type of Cryptocurrency
      that May Be Sold

       19.     The Management and Monetization Guidelines provide that the maximum amount

of Digital Assets that can be sold in a week is $100 million, but that such amount can be

increased to $200 million on a temporary basis, with prior approval of the Committee and the Ad

Hoc Committee. See Mot. Ex. A (Proposed Form of Order) ¶ 2.A(d). The Management and

Monetization Guidelines further provide that the maximum weekly limit may be permanently

increased to $200 million by filing a notice with the Court of such proposed increase. See id.

However, the guidelines provide that only the Committee and the Ad Hoc Committee may object

to such permanent increase. If the weekly cap on the amount of Digital Assets allowed to be

sold on a weekly basis is increased on a permanent basis from $100 million to $200 million, not

only should notice of that permanent increase be filed on the docket, but it should also be served

on parties in interest, who should be “afford[ed] . . . an opportunity to present their objections.’”

See Folger Adam, 209 F.3d at 265.

       20.     The Management and Monetization Guidelines also provide that if the Debtors

determine to start selling Bitcoin, Ether, FTT or other insider-affiliated tokens, then the Debtors

shall provide ten business days’ notice to only the Committee and the Ad Hoc Committee, who

will in turn be the only parties who may object to such a change. Id., ¶2.A (e). In accordance

with Folger Adam, public notice should be provided of such a change, and all parties in interest

should have the opportunity to object. 209 F.3d at 265. If there is legitimate business reason

why the Debtors do not want to make such information public, the Debtors should disclose that

reason, but at minimum the U.S. Trustee should be included among those parties who will

receive notice of any such change.



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        21.    The U.S. Trustee leaves the Debtors to their burden of proof and reserves any and

all rights, remedies and obligations to, inter alia, complement, supplement, augment, alter and/or

modify this Objection, file an appropriate Motion and/or conduct any and all discovery as may

be deemed necessary or as may be required and to assert such other grounds as may become

apparent upon further factual discovery.

       WHEREFORE, the U.S. Trustee respectfully requests that the Court (a) deny that portion

of the Motion seeking authority to enter into DIP financing and to grant liens and superpriority

administrative claims in connection with hedging agreements, (b) deny that portion of the

Motion seeking approval of the Management and Monetization Guidelines unless the changes

indicated above are made, and (c) grant any such other and further relief that the Court deems

just and proper.

                                             Respectfully submitted,

                                             ANDREW R. VARA,
                                             UNITED STATES TRUSTEE
                                             REGIONS 3 AND 9
Dated: September 7, 2023
                                             By: /s/ Juliet Sarkessian
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